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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:03CR290
                              )
          v.                  )
                              )
STERLING McKOY,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           This matter is before the Court on the motion of
Michael F. Maloney to withdraw as attorney (Filing No. 405).                 The

Court finds the motion should be granted.             Accordingly,

           IT IS ORDERED that the motion of Michael F. Maloney to

withdraw as counsel for defendant is granted.

           DATED this 14th day of October, 2009.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
